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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

JEFFERY JUST,                                             )
                                                          )
            Plaintiff,                                    )
                                                          )
       v.                                                 )            Case No. 4:18-CV-424 NAB
                                                          )
CITY OF ST. LOUIS, MISSOURI, et al.,                      )
                                                          )
            Defendants.                                   )


                                    MEMORANDUM AND ORDER 1

        This matter is before the Court on Plaintiff’s Motion for Taxation of Costs of Service to

be Assessed Against Defendants and for Attorney’s Fees. [Doc. 10.] Defendants City of St.

Louis, Missouri, Nellie Kuykendall, and Eric Henry did not file responses to Plaintiff’s Motion

and the time to do so has now passed. For the following reasons, the Court will grant Plaintiff’s

motion.

        Federal Rule of Civil Procedure 4(d)(2) provides the following:

                     If a defendant located within the United States fails, without
                     good cause, to sign and return a waiver requested by a
                     plaintiff located in the United States, the court must impose
                     on the defendant: (A) the expenses later incurred in making
                     service; and (B) the reasonable expenses, including
                     attorney’s fees of any motion required to collect those
                     service expenses.

The record indicates that the Defendants failed to return the waivers of service. Plaintiff has

included three invoices documenting that Plaintiff incurred an expense of $50.00 for each

defendant and a total of $150.00 to obtain personal service of the Defendants. (Pl.’s Exs. 1, 2,

3.) In an averred motion, Plaintiff’s counsel James Schottel, Jr. states that he spent 3.4 hours

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 The parties have consented to the jurisdiction of the undersigned United States Magistrate Judge pursuant to 28
U.S.C. § 636(c). [Doc. 22.]
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preparing the motion, memorandum in support of the motion, and exhibits and conducting legal

research. Mr. Schottel seeks reimbursement at his hourly rate of $400.00 per hour. Id. The

Court finds the amount of time expended by counsel and the hourly rate to be reasonable.

Because Defendants City of St. Louis, Missouri, Nellie Kuykendall, and Eric Henry failed to

comply with Plaintiff’s request for waiver of service of summons, and because they have not

shown good cause for the failure, the Court concludes that Plaintiff is entitled to reimbursement

of costs in the amount of $150.00 and attorney’s fees in the amount of $1,360.00 for a total

award of $1,510.00.

       Accordingly,

       IT IS HEREBY ORDERED that Plaintiff’s Motion for Taxation of Costs of Service to

be Assessed Against Defendants and for Attorney’s Fees is GRANTED. [Doc. 10]

       IT IS FURTHER ORDERED that Defendant City of St. Louis, Missouri is directed to

pay $503.34, and Defendants Nellie Kuykendall, and Eric Henry are each directed to pay

Plaintiff $503.33 each for the costs of service of summons and attorney’s fees for a total award

of $1,510.00.

   Dated this 17th day of July, 2018.



                                             /s/ Nannette A. Baker
                                            NANNETTE A. BAKER
                                            UNITED STATES MAGISTRATE JUDGE




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